DOCUMENTS UNDER SEAL
                      Case 3:22-cr-00452-CRB Document 6 Filed 02/08/23 Page 1 6ofminutes
                                                           TOTAL TIME (m ins):
                                                                                  1
M AGISTRATE JUDGE                           DEPUTY CLERK                               5(3257(5',*,7$/5(&25',1*
M INUTE ORDER                              Elaine Kabiling                             10:37 - 10:43
MAGISTRATE JUDGE                            DATE                                       NEW CASE          CASE NUMBER
Laurel Beeler                               02/08/2023                                                   3:22-cr-00452-CRB-1
                                                       APPEARANCES
DEFENDANT                                    AGE     CUST  P/NP   ATTORNEY FOR DEFENDANT                        PD.      RET.
Kevin Arteaga-Morales                                Y        P        Daniel Blank                             APPT.
U.S. ATTORNEY                                INTERPRETER                              FIN. AFFT               COUNSEL APPT'D
Daniel Kassabian                            Melinda Basker, Spanish                   SUBMITTED

PROBATION OFFICER             PRETRIAL SERVICES OFFICER                DEF ELIGIBLE FOR                PARTIAL PAYMENT
                              Vanessa Vargas                           APPT'D COUNSEL                  OF CJA FEES
                                         PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR               PRELIM HRG       MOTION           JUGM'T & SENTG                               STATUS
      1 min                                                                                                        TRIAL SET
       I.D. COUNSEL                 ARRAIGNMENT              BOND HEARING              IA REV PROB. or             OTHER
                                 5 mins                                                or S/R
       DETENTION HRG                ID / REMOV HRG           CHANGE PLEA              PROB. REVOC.                 ATTY APPT
                                                                                                                   HEARING
                                                      INITIAL APPEARANCE
         ADVISED                  ADVISED                    NAME AS CHARGED             TRUE NAME:
         OF RIGHTS                OF CHARGES                 IS TRUE NAME
                                                         ARRAIGNM ENT
       ARRAIGNED ON                 ARRAIGNED ON               READING W AIVED                W AIVER OF INDICTMENT FILED
       INFORMATION                  INDICTMENT                 SUBSTANCE
                                                          RELEASE
      RELEASED            ISSUED                      AMT OF SECURITY          SPECIAL NOTES                  PASSPORT
      ON O/R              APPEARANCE BOND             $                                                       SURRENDERED
                                                                                                              DATE:
PROPERTY TO BE POSTED                            CORPORATE SECURITY                         REAL PROPERTY:
    CASH    $


      MOTION          PRETRIAL                  DETAINED          RELEASED         DETENTION HEARING                REMANDED
      FOR             SERVICES                                                     AND FORMAL FINDINGS              TO CUSTODY
      DETENTION       REPORT                                                       W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                              PLEA
    CONSENT                      NOT GUILTY                  GUILTY                     GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE                  CHANGE OF PLEA              PLEA AGREEMENT             OTHER:
    REPORT ORDERED                                           FILED
                                                         CONTINUANCE
TO:                               ATTY APPT                 BOND                      STATUS RE:
2/13/2023                         HEARING                   HEARING                   CONSENT                   TRIAL SET

AT:                               SUBMIT FINAN.               PRELIMINARY             CHANGE OF                 67$786
                                  AFFIDAVIT                   HEARING                 PLEA
10:30 AM                                                      BBBBBBBBBBBBB
BEFORE HON.                       DETENTION                   $55$,*1MENT             MOTIONS                   JUDGMENT &
                                  HEARING                                                                       SENTENCING
Beeler
       TIME W AIVED               TIME EXCLUDABLE             IDENTITY /              PRETRIAL                  PROB/SUP REV.
                                  UNDER 18 § USC              REMOVAL                 CONFERENCE                HEARING
                                  3161                        HEARING
                                                   ADDITIONAL PROCEEDINGS
Court orders entire case unsealed. Forfeiture allegations are denied. Matter referred to Pretrial Service for full bail study.


                                                                                            DOCUMENT NUMBER:
CC: CRB
